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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                             Case No: 20-21588-CIV-ALTONAGA

  MARK PITZO,

         Plaintiff,

         vs.

  CARNIVAL CORPORATION
  d/b/a Carnival Cruise Lines,

         Defendant.
                                               /

                        CERTIFICATE OF INTERESTED PERSONS

         Pursuant to this Court’s Order of May 4, 2020 (D.E. 8), the following constitute

  interested persons and associated persons, firms, partnerships or corporations that may have a

  financial interest in the outcome of this case.

                                             PARTIES

  1.     Mark Pitzo, Plaintiff.

  2.     Carnival Corporation, Defendant.

                                           ATTORNEYS

  3.     Mark K. Schwartz, Plaintiff’s counsel.

  4.     Driggers, Schultz & Herbst, Attorneys for Plaintiff.

  5.     Donnise DeSouza Webb, Attorney for Defendant.

                                              OTHER

  6.     Blue Cross Blue Shield, Federal Employee Program, Plaintiff’s health plan and possible

  lienholder.
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 27, 2020, I electronically filed the foregoing

  document with the Clerk of Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record or pro se parties identified on the attached

  Service List in the manner specified, either via transmission of Notices of Electronic Filing

  generated by CM/ECF or in some other authorized manner for those counsel or parties who

  are not authorized to receive electronically Notices of Electronic Filing.

                                               Respectfully Submitted,

                                               DRIGGERS, SCHULTZ & HERBST

                                               /s/ Mark Kelley Schwartz
                                               Mark Kelley Schwartz
                                               Florida Bar No. 0190070
                                               Attorney for Plaintiff
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                                               Troy, MI 48084
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   Attorney for Defendant, CARNIVAL

                        [Service via CM/ECF Notice of Electronic Filing]




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